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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


THE AMERICAN HOSPITAL ASSOCIATION, et al.,

                       Plaintiffs,

                          –v–
                                                            Case No. 1:18-cv-2112
THE DEPARTMENT HEALTH AND HUMAN
SERVICES, et al.,

                      Defendants.


                  PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Fed. R. Civ. P. 56, Plaintiffs the American Hospital Association, America’s

Essential Hospitals, the Association of American Medical Colleges, 340B Health, Genesis

Healthcare System, Kearny County Hospital, and Rutland Regional Medical Center, through

their undersigned counsel, move for summary judgment seeking a declaration that the most

recent delay by defendants Department of Health and Human Services and the Secretary of

Health and Human Services, 83 Fed. Reg. 20,009 (May 7, 2018), in implementing a critical

regulation that it issued in final form on January 5, 2017, with a 60-day effective date, published

at 82 Fed. Reg. 1210, 1229-30 (the “Final 340B Rule”), is arbitrary and capricious, an abuse of

discretion, and contrary to law, in violation of 5 U.S.C. § 706(2)(A), and is agency action

unreasonably delayed in violation of 5 U.S.C. § 706(1).

       In support of this motion, plaintiffs are submitting a Memorandum of Points and

Authorities in Support of Plaintiffs’ Motion for Summary Judgment (“Memorandum”), a

Statement of Facts, and a Proposed Order. For the reasons set forth in the accompanying

Memorandum, Plaintiffs respectfully request that this Court grant summary judgment on their

claims; declare that Defendants’ most recent delay in implementing the Final 340B Rule is
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arbitrary and capricious, an abuse of discretion, and contrary to law, in violation of 5 U.S.C. §

706(2)(A) and is agency action unreasonably delayed, in violation of 5 U.S.C. § 706(1); order

the Secretary to make the Final 340B Rule effective within 30 days after judgment; and order

Defendants to pay fees and costs pursuant to 28 U.S.C. § 2412.



                                                      Respectfully submitted,

                                                      /s/ William B. Schultz
                                                      ____________________________________
                                                      William B. Schultz (D.C. Bar. No. 218990)
                                                      Margaret M. Dotzel (D.C. Bar. No. 425431)
                                                      Adam B. Abelson (D.C. Bar No. 1011291)
                                                      ZUCKERMAN SPAEDER LLP
                                                      1800 M St, NW
                                                      Washington, DC 20036
                                                      Tel: 202-778-1800
                                                      Fax: 202-822-8136
                                                      wschultz@zuckerman.com
                                                      mdotzel@zuckerman.com
                                                      aabelson@zuckerman.com

                                                      Attorneys for Plaintiffs




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